Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 1 of 21 PageID: 25019




                    EXHIBIT 1
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 2 of 21 PageID: 25020
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 3 of 21 PageID: 25021
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 4 of 21 PageID: 25022
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 5 of 21 PageID: 25023
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 6 of 21 PageID: 25024
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 7 of 21 PageID: 25025
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 8 of 21 PageID: 25026
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 9 of 21 PageID: 25027
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 10 of 21 PageID: 25028
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 11 of 21 PageID: 25029
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 12 of 21 PageID: 25030
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 13 of 21 PageID: 25031
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 14 of 21 PageID: 25032
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 15 of 21 PageID: 25033
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 16 of 21 PageID: 25034
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 17 of 21 PageID: 25035
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 18 of 21 PageID: 25036
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 19 of 21 PageID: 25037
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 20 of 21 PageID: 25038
Case 2:19-cr-00120-MEF Document 500-3 Filed 08/03/23 Page 21 of 21 PageID: 25039
